Case 23-13532-RAM Doc 56-1 Filed 03/08/24 Page 1of6

FL-103-ARB 10/31/2010

Retail Installment Contract and Security Agreement

Seller Name and Address

| Need A Car Miami
4751 W Flagler St
Coral Gables, FL 33134

RUBEN RIVAS

Buyer(s) Name(s) and Address(es)

Summary
No. App# 89938443 - V# 1
Date 3/6/2024

Hallandale, FL 33009

Buyers’ Month of Birth June

C] Business, commercial or agricultural purpose Contract.

Documentary Stamp Tax. Florida documentary stamp tax required by law in the amount of $

Revenue, Certificate of Registration No.

33.60 has been paid or will be paid directly to the Florida Department of

eee aleliere m OR e eI

Annual Percentage Rate
The cost of your credit as a yearly

Finance Charge
The dollar amount the credit will

rate. cost you. you or on your behalf. when you have made all credit, including your down
scheduled payments. payment of
$ 8000.00
$ 9475.14 $ 9553.18 $ 15028.32 $__23028.32

Amount Financed
The amount of credit provided to

Total Sale Price
The total cost of your purchase on

Total of Payments
The amount you will have paid

Payment Schedule. Your payment schedule is:

No. of Payments Amount of Payments When Payments are Due

48 $ 313.09

Monthly, Beginning 04/09/24

Security. You are giving us a security interest in the Property purchased.

Prepayment. If you pay off this Contract early, you may have to pay a penalty.

prepayment refunds and penalties.

Late Charge. If all or any portion of a payment is not paid within 10 days of its due date, you will be charged a late charge of 5% of the unpaid amount of the payment due.

Contract Provisions. You can see the terms of this Contract for any additional information about nonpayment, default, any required repayment before the scheduled date, and

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[_] Demo

| DT=X-Yod 4] 6) ¢[e) 4 eli A 12 (2/0)

N/A

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C] Conditional Delivery. If checked, you agree that the following agreement regarding
securing financing (“Agreement’) applies:

. The Agreement is part of this Contract. The
Agreement will no longer control after the assignment is accepted. If there are any
conflicts between the terms of the Agreement and the Contract, the terms of this Contract
will apply.

Year Make Model Style Vehicle Identification Number Odometer Mileage
2015 Jeep Wrangler SUV 1C4AJWAGOFL746455 226990
[_] New Other:
Used

NY} (low Ve (eetet eile g

Payment. You promise to pay us the principal amount of
$ 9553.18

balance at the rate of

plus finance charges accruing on the unpaid
24.19 % per year from the date of this Contract until

paid in full. Finance charges accrue ona 365 day basis. You
agree to pay this Contract according to the payment schedule and late charge provisions
shown in the Truth-in-Lending Disclosure. You also agree to pay any additional amounts
according to the terms and conditions of this Contract.

Down Payment. You also agree to pay or apply to the Cash Price, on or before the date
of this Contract, any cash, rebate and net trade-in value described in the femization of
Amount Financed.

L] You agree to make deferred down payments as set forth in your Payment Schedule.

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Page 1 of 6
Case 23-13532-RAM Doc 56-1 Filed 03/08/24 Page 2 of 6

C] Loan Processing Fee. You agree to pay a loan processing fee of

$ N/A that will be L] paid in cash. LJ financed over the
term of the Contract.

x] Pre-delivery Service Fee. You agree to pay a pre-delivery service fee of

$3 795.00 that will be CJ paid in cash. x] financed over the
term of the Contract. This charge represents costs and profit to the dealer for items such
as inspecting, cleaning, and adjusting vehicles, and preparing documents related to the
sale.

LX Minimum Finance Charge. You agree to pay a minimum finance charge of

$ NA

eamed that much in finance charges.

i ceVarl rae} tee mel MVCN UE Mm AEE este)

a. Price of Vehicle, etc. (incl. sales tax of

if you pay this Contract in full before we have

ARE GL etee OLR ey aa)

Credit Insurance. Credit life and credit disability (accident and health) are not required to
obtain credit and are not a factor in the credit decision. We will not provide them unless
you sign and agree to pay the additional premium. If you want such insurance, we will
obtain it for you (if you qualify for coverage). We are quoting below only the coverages
you have chosen to purchase.

Credit Life

[__] Single [_]Joint [None
Premiums N/A

Insured

Credit Disability

[_]Single [_] Joint [7] None
Premiums N/A

Insured

Your signature below means you want (only) the insurance coverage(s) quoted above. If
“None” is checked, you have declined the coverage we offered.

Tem N/A

Tem N/A

$ 1027.58 ) $ 16026.58
b. Pre-delivery service fee $ 795.00
c. Cash Price (a+b) $ 16821.58
d. Trade-in allowance $ N/A
e. Less: Amount owing, paid to (includes m): By: DOB
$ N/A
f. Net trade-in (d-e; if negative, enter $0 here and enter
the amount on line m) $ N/A
g. Cash payment $ 8000.00
h, Manufacturer's rebate $ N/A_| By: DOB
i. Deferred down payment $ N/A
j. Other down payment (describe)
$ N/A
k. Down Payment (f+g+h+i+) $ 8000.00
|. Unpaid balance of Cash Price (c-k) $ 8821.58 | py: DOB
m. Financed trade-in balance (see line f} $
n. Paid to public officials, including filing fees $ 199.00 | Property Insurance. You must insure the Property. You may purchase or provide the
o. Insurance premiums paid to insurance company(ies) insurance through any insurance company reasonably acceptable to us. The collision
(See Insurance Disclosures section for coverage and coverage deductible may not exceed $ N/A . If you get
benefits types.) $ N/A | | /
p. Service Contract, paid to: insurance from or through us you will pay $ N/A for
$ N/A | O months of coverage.
q. Documentary Stamp Tax $ 33.60 | This premium is calculated as follows:
r._Electronic Filing Fee $ ae Cl s N/A Deductible, Collision Cov. $ N/A
s. $ NIA Cl] $ WA Deductible, Comprehensive $ N/A
t $ N/A CT Fire-Theft and Combined Additional Cov. ¢ N/A
U. $
. wa | O s WA
w 5 LIABILITY INSURANCE COVERAGE FOR BODILY INJURY AND
. PROPERTY DAMAGE CAUSED TO OTHERS IS NOT INCLUDED
x. Total Other Charges/Amts Paid (m thru w) $ 731.60 UNLESS CHECKED AND INDICATED.
y. Prepaid Finance Charge $ N/A
z. Amount Financed (|+x-y) $ 9553.18

We may retain or receive a portion of any amounts paid to others.

[This area intentionally left blank. ]

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Page 2 of 6
Case 23-13532-RAM Doc 56-1 Filed 03/08/24 Page 3 of 6

L] Single-interest Insurance. You must purchase single-interest insurance. The
coverage may be obtained from a company of your choice, reasonably acceptable to us.
If you buy the coverage from or through us, you will pay

3 NIA for of coverage. This

insurance is solely for the interest of the Seller, its successors and assigns, and no
protection exists for your benefit. You authorize us to purchase Single-Interest Insurance.

3/6/2024
By: Date
By: Date
By: Date

Jas} (sro (eye me) Ve oy i hae) Le) 8)

Checking the following box will not affect the terms under which we will finance and sell
the Property or any of the terms of this Contract, except that the arbitration provision will
not be a part of this Contract:

LC You reject the arbitration provision of this Contract.

[This area intentionally left blank.]

7Vololt ley ere] med key C210 fee)

You may buy any of the following voluntary protection plans. They are not required
to obtain credit, are not a factor in the credit decision, and are not a factor in the
terms of the credit or the related sale of the Vehicle. The voluntary protections will
not be provided unless you sign and agree to pay the additional cost.

Your signature below means that you want the described item and that you have received
and reviewed a copy of the contract(s) for the product(s). If no coverage or charge is
given for an item, you have declined any such coverage we offered.

[_] Service Contract

Term

Price
Coverage

$ N/A

[_] Gap Waiver or Gap Coverage

Term

Price
Coverage

$ N/A

O

Term

Price $

Coverage

3/6/2024
By: Date

By: Date

By: Date

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Definitions. ‘Contract’ refers to this Retail {nstallment Contract and Security Agreement.
The pronouns “you” and “your” refer to each Buyer signing this Contract, and any
guarantors, jointly and individually. The pronouns ‘we’, “us” and “our” refer to the Seller
and any entity to which it may transfer this Contract. “Vehicle” means each motor vehicle
described in the Description of Property section. “Property” means the Vehicle and all
other property described in the Description of Property and Additional Protections
sections.

Purchase of Property. You agree to purchase the Property from us, subject to the terms
and conditions of this Contract. Seller will not make any repairs or additions to the Vehicle
except as noted in the Description of Property section.

You have been given the opportunity to purchase the Property and described services for
the Cash Price or the Total Sale Price. The “Tota/ Sale Price" is the total price of the
Property if you buy it over time.

Deferment. We may agree to defer the scheduled due date of all or any part of any
installment payment, and will collect a $15.00 fee for such deferment. You must maintain
the insurance on the Property required by this Contract during any deferment period. You
may extend any optional insurance you bought with this Contract if the insurance
company or your insurance contract allows the extension and if you pay the extension
charge. In addition to the $15.00 deferment fee and the costs of extending required or
optional insurance, you will also be required to pay additional finance charges as a result
of exercising the deferment option.

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RSSIMVLFAZFL 10/31/2010
Page 3 of 6
Case 23-13532-RAM Doc 56-1 Filed 03/08/24 Page 4of6

General Terms. The Total Sale Price shown in the Truth-in-Lending Disclosure assumes
that all payments will be made as scheduled. The actual amount you will pay will be more
if you pay late and less if you pay early.

We do not intend to charge or collect, and you do not agree to pay, any finance charge or
fee that is more than the maximum amount permitted for this sale by state or federal law.
If you pay a finance charge or fee that exceeds that maximum amount, we will first apply
the excess amount to reduce the principal balance and, when the principal has been paid
in full, refund any remaining amount to you.

You understand and agree that some payments to third parties as a part of this Contract
may involve money retained by us or paid back to us as commissions or other
remuneration.

You agree that the Property will not be used as a dwelling.

Prepayment. You may prepay this Contract in full or in part at any time. We may impose
an acquisition charge of $75.00 for services performed in processing this Contract if it is
paid in full within 6 months after the Contract's effective date. Any partial prepayment will
not excuse any later scheduled payments. If we get a refund of any uneamed insurance
premiums that you paid, you agree that we may subtract the refund from the amount you
owe, unless otherwise provided by law.

Returned Payment Charge. If you make any payment required by this Contract that is
returned or dishonored, you agree to pay a fee of 5% of the face amount of the
instrument, or the fee specified in Fla. Stat. § 832.08 (5), whichever is greater. The fees
provided for in Fla. Stat. § 832.08 (5) are: $25.00, if the face value of the check does not
exceed $50.00; $30.00 if the face value exceeds $50.00 but does not exceed $300.00;
$40.00 if the face value exceeds $300.00.

Governing Law and Interpretation. This Contract is governed by the law of Florida and
applicable federal {aw and regulations.

If any section or provision of this Contract is not enforceable, the other terms will remain
part of this Contract. You authorize us to correct any clerical error or omissions in this
Contract or in any related document.

Name and Location. Your name and address set forth in this Contract are your exact
legal name and your principal residence. You will provide us with at least 30 days notice
before you change your name or principal residence.

Telephone Monitoring and Calling. From time to time you agree we may monitor and
record telephone calls made or received by us or our agents regarding your account to
assure the quality of our service. In order for us to service the account or to collect any
amounts you may owe, and subject to applicable law, you agree that we may from time to
time make calls and send text messages to you using prerecorded/artificial voice
messages or through the use of an automatic dialing device at any telephone number you
provide to us in connection with your account, including a mobile telephone number that
could result in charges to you.

Default. You will be in default on this Contract if any one of the following occurs (except
as prohibited by law):
@ You fail to perform any obligation that you have undertaken in this Contract.

@ We, in good faith, believe that you cannot, or will not, pay or perform the obligations
you have agreed to in this Contract.

if you default, you agree to pay our court costs and fees for repossession, repair, storage
and sale of the Property securing this Contract. You also agree to pay reasonable
attomeys' fees after default and referral to an attorney not a salaried employee of ours.

If an event of default occurs as to any of you, we may exercise our remedies against any
or all of you.

Remedies. If you are in default on this Contract, we have all of the remedies provided by
law and this Contract. Those remedies include:

@ We may require you to immediately pay us, subject to any refund required by law,
the remaining unpaid balance of the amount financed, finance charges and all other
agreed charges.

@ We may pay taxes, assessments, or other liens or make repairs to the Property if
you have not done so. We are not required to do so. You will repay us that amount
immediately. That amount will eam finance charges from the date we pay it at the
post-maturity rate described in the Payment section until paid in full.

@ We may require you to make the Property available to us at a place we designate
that is reasonably convenient to you and us.

@ We may immediately take possession of the Property by legal process or self-help,

but in doing so we may not breach the peace or unlawfully enter onto your premises.

@ We may then sell the Property and apply what we receive as provided by law to our
reasonable expenses and then toward what you owe us.

@ Except when prohibited by law, we may sue you for additional amounts if the
proceeds of a sale do not pay all of the amounts you owe us.

By choosing any one or more of these remedies, we do not give up our right to later use
another remedy. By deciding not to use any remedy, we do not give up our right to
consider the event a default if it happens again.

You agree that if any notice is required to be given to you of an intended sale or transfer
of the Property, notice is reasonable if mailed to your last known address, as reflected in
our records, at least 10 days before the date of the intended sale or transfer (or such
other period of time as is required by law).

You agree that we may take possession of personal property left in or on the Property
securing this Contract and taken into possession as provided above. You may have a
tight to recover that property.

If the Property has an electronic tracking device, you agree that we may use the device to
find the vehicle.

Obligations Independent. Each person who signs this Contract agrees to pay this
Contract according to its terms. This means the following:

@ You must pay this Contract even if someone else has also signed it.

@ We may release any co-buyer or guarantor and you will still be obligated to pay this
Contract.

@ We may release any security and you will still be obligated to pay this Contract.
@ |fwegive up any of our rights, it will not affect your duty to pay this Contract.

@ |fwe extend new credit or renew this Contract, it will not affect your duty to pay this
Contract.

Warranty. Warranty information is provided to you separately.

SYTe UT eT Sao TREES

Security. To secure your payment and performance under the terms of this Contract, you
give us a security interest in the Vehicle, all accessions, attachments, accessories, and
equipment placed in or on the Vehicle and in all other Property. You also assign to us and
give us a security interest in proceeds and premium refunds of any insurance and service
contracts purchased with this Contract.

Duties Toward Property. By giving us a security interest in the Property, you represent
and agree to the following:

@ You will defend our interests in the Property against claims made by anyone else.
You will keep our claim to the Property ahead of the claim of anyone else. You will
not do anything to change our interest in the Property.

e@ You will keep the Property in your possession and in good condition and repair. You
will use the Property for its intended and lawful purposes.

@ You agree not to remove the Property from the U.S. without our prior written
consent.

@ You will not attempt to sell the Property, transfer any rights in the Property, or grant
another lien on the Property without our prior written consent.

e@ You will pay all taxes and assessments on the Property as they become due.

@ You will notify us with reasonable promptness of any loss or damage to the
Property.

e@ You will provide us reasonable access to the Property for the purpose of inspection.
Our entry and inspection must be accomplished lawfully, and without breaching the
peace.

Agreement to Provide Insurance. You agree to provide property insurance on the
Property protecting against loss and physical damage and subject to a maximum
deductible amount indicated in the Insurance Disclosures section, or as we will otherwise
require. You will name us as loss payee on any such policy. Generally, the loss payee is
the one to be paid the policy benefits in case of loss or damage to the Property. In the
event of loss or damage to the Property, we may require additional security or assurances
of payment before we allow insurance proceeds to be used to repair or replace the
Property. You agree that if the insurance proceeds do not cover the amounts you still owe
us, you will pay the difference. You may purchase or provide the insurance from any
insurance provider that is reasonably acceptable to us. Your choice of an insurance
provider will not affect the credit decision. We may impose reasonable requirements
conceming the extent of coverage and the financial soundness of the insurance provider.
You will keep the insurance in full force and effect until this Contract is paid in full.

If you fail to obtain or maintain this insurance, or name us as loss payee, we may obtain
insurance to protect our interest in the Property. This insurance may be written by a
company other than one you would choose. It may be written at a rate higher than a rate
you could obtain if you purchased the property insurance required by this Contract. We
will add the premium for this insurance to the amount you owe us. Any amount we pay

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Page 4 of 6
Case 23-13532-RAM Doc 56-1 Filed 03/08/24 Page 5of6

will be due immediately. This amount will earn finance charges from the date paid at the
rate described in the Payment section until paid in full.

Gap Waiver or Gap Coverage. In the event of theft or damage to the Vehicle that results
in a total loss, there may be a gap between the amount due under the terms of the
Contract and the proceeds of your insurance settlement and deductibles. You are liable
for this difference. You have the option of purchasing Gap Waiver or Gap Coverage to
cover the gap liability, subject to any conditions and exclusions in the Gap Waiver or Gap
Coverage agreements.

VVa Vitesse (mm ROUT eNs)

Arbitration Provision. PLEASE READ CAREFULLY! By agreeing to this arbitration
provision you are giving up your right to go to court for claims and disputes arising
from this Contract:

@ EITHER YOU OR WE MAY CHOOSE TO HAVE ANY DISPUTE BETWEEN YOU
AND US DECIDED BY ARBITRATION, AND NOT BY A COURT OR BY JURY
TRIAL.

e@ YOU GIVE UP ANY RIGHT THAT YOU MAY HAVE TO PARTICIPATE ASA
CLASS REPRESENTATIVE OR CLASS MEMBER IN ANY CLASS ACTION OR
CLASS ARBITRATION AGAINST US IF A DISPUTE IS ARBITRATED.

@ IN ARBITRATION, DISCOVERY AND RIGHTS TO APPEAL ARE GENERALLY
MORE LIMITED THAN IN A JUDICIAL PROCEEDING, AND OTHER RIGHTS
THAT YOU WOULD HAVE IN COURT MAY NOT BE AVAILABLE.

You or we (including any assignee) may elect to resolve any Claim by neutral, binding
arbitration and not by a court action. “C/aim” means any claim, dispute or controversy
between you and us or our employees, agents, successors, assigns or affiliates arising
from or relating to:

1. the credit application;

the purchase of the Property;
the condition of the Property;
this Contract;

any insurance, maintenance, service or other contracts you purchased in
connection with this Contract; or

6. any related transaction, occurrence or relationship.

FF wen

This includes any Claim based on common or constitutional law, contract, tort, statute,
regulation, or other ground. To the extent allowed by law, the validity, scope, and
interpretation of this arbitration provision are to be decided by neutral, binding arbitration.

If either party elects to resolve a Claim through arbitration, you and we agree that no trial
by jury or other judicial proceeding will take place. Rather, the Claim will be arbitrated on
an individual basis, and not on a class or representative basis.

The party electing arbitration may choose any of the following arbitration organizations
and its applicable rules, provided it is willing and able to handle the arbitration: American
Arbitration Association, 1633 Broadway, Floor 10, New York, NY 10019 (www.adr.org);
JAMS, 1920 Main Street, Suite 300, Irvine CA 92614 (waww.jamsadr.com); or National
Arbitration and Mediation (NAM), 990 Stewart Ave., Garden City, NY 11530
(www.namadr.com). You may get a copy of the applicable rules of these organizations by
contacting them or visiting their websites. If the chosen arbitration organization's rules
conflict with this arbitration provision, then the terms of this arbitration provision will
govem the Claim. If none of these arbitration organizations is willing or able to handle the
arbitration, the arbitrator can be selected pursuant to 9 U.S.C. Sections 5 and 6.

The arbitration hearing will be carried out in the federal district where you reside, unless
you and we otherwise agree. Or, if you and we consent, the arbitration hearing can be by
telephone. In connection with any arbitration, if you so request, we shall advance your
filing, administration, service or case management fee, and your arbitrator or hearing fee,
up to a total of $2,500.00. Unless the arbitrator awards them to a party, each party is
responsible for the fees of its attomeys, experts, witnesses, and any other fees or costs,
including any amount we have advanced.

An arbitrator must be a lawyer with at least ten (10) years experience and familiar with
consumer credit law or a retired state or federal court judge. Except as provided below,
the arbitration will be by a single arbitrator. In making an award, an arbitrator shall follow
governing substantive law and any applicable statute of limitations. The arbitrator will
decide any dispute regarding the arbitrability of a Claim. An arbitrator has the authority to
order specific performance, compensatory damages, punitive damages, and any other
relief allowed by applicable law. An arbitrator's authority to make awards is limited to
awards to you or us alone. Furthermore, Claims brought by you against us, or by us
against you, may not be joined or consolidated in arbitration with claims brought by or
against someone other than you, unless agreed to in writing by all parties. No arbitration
award or decision will have any preclusive effect as to issues or claims in any dispute with
anyone who is not a named party to the arbitration.

Any arbitration award shall be in writing, shall include a written reasoned opinion, and will
be final and binding subject only to any right to appeal under the Federal Arbitration Act
("FAA’), 9 U.S.C. Sections 1, et seq., except that (i) if a single arbitrator awards you less
than $5,000 you shall be entitled, upon request made within 20 days after the entry of that
award, to have the award set aside and the Claim rearbitrated by a panel of three
arbitrators, and (ii) if the single arbitrator awards you more than $100,000 we shall be
entitled, upon request made within 20 days after the entry of that award, to have the
award set aside and the Claim rearbitrated by a panel of three arbitrators. The party
requesting such rearbitration will be required to pay the filing, administration, service or
case management fee and the arbitrators and hearing fee, subject to final determination
by the arbitration panel. Any court having jurisdiction can enforce a final arbitration award.

You or we can do the following without giving up the right to require arbitration:

e@ Seek remedies in small claims court for Claims within the small claims court's
jurisdiction, or
@ Seek judicial provisional remedies.

If a party does not exercise the right to elect arbitration in connection with any particular
Claim, that party still can require arbitration in connection with any other Claim.

This arbitration provision survives any (i) termination, payoff, assignment or transfer of
this Contract, (ii) any legal proceeding by you or us to collect a debt owed by the other,
and (iii) any bankruptcy proceeding in which you or we are the debtor. With but one
exception, if any part of this arbitration provision is deemed or found to be unenforceable
for any reason, the remainder of this arbitration provision will remain in full force and
effect. The one exception is that, if a finding of partial unenforceability would allow
arbitration to proceed on a class-wide basis then this arbitration provision will be
unenforceable in its entirety.

You and we expressly agree that this arbitration provision is governed by the FAA to the
exclusion of any different or inconsistent state or local law.

By signing this Contract you are agreeing to the terms of this arbitration provision,
unless you reject it as provided in the next paragraph.

Caution: It is important that you read this arbitration provision thoroughly before
you sign this Contract. By signing this Contract, you are acknowledging that you
have read and understand this arbitration provision. If you do not understand
something in this arbitration provision, do not sign this Contract; instead ask your
lawyer. You can reject this arbitration provision by checking the box in the
Rejection of Arbitration section of this Contract before you sign this Contract. If
you do so, this arbitration provision will not be a part of this Contract, but all the
rest of this Contract will continue to be binding and effective.

Note. If the primary use of the Vehicle is non-consumer, this is not a consumer
contract, and the following notice does not apply. NOTICE. ANY HOLDER OF
THIS CONSUMER CREDIT CONTRACT IS SUBJECT TO ALL
CLAIMS AND DEFENSES WHICH THE DEBTOR COULD ASSERT
AGAINST THE SELLER OF GOODS OR SERVICES OBTAINED
PURSUANT HERETO OR WITH THE PROCEEDS HEREOF.
RECOVERY HEREUNDER BY THE DEBTOR SHALL NOT EXCEED
AMOUNTS PAID BY THE DEBTOR HEREUNDER.

If you are buying a used vehicle: The information you see on the window form for
this vehicle is part of this contract. Information on the window form overrides any
contrary provisions in the contract of sale.

Si compra un vehiculo usado: La informacién que ve adherida en la ventanilla
forma parte de éste contrato. La informacién contenida en el formulario de la
ventanilla prevalece por sobre toda otra disposicién en contrario incluida en el
contrato de compraventa.

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RSSIMVLFAZFL 10/31/2010
Page 5 of 6
Case 23-13532-RAM Doc 56-1 _ Filed 03/08/24

WNT KOM mt ESN? EELS

In this section only, “you” means only the person signing this section.

By signing below you agree to give us a security interest in the Property described in the
Description of Property section. You also agree to the terms of this Contract except that
you will not be liable for the payments it requires. Your interest in the Property may be
used to satisfy the Buyer's obligation. You agree that we may renew, extend or change
this Contract, or release any party or Property without releasing you from this Contract.
We may take these steps without notice or demand upon you.

You acknowledge receipt of a completed copy of this Contract.

N/A

By: Date

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The Annual Percentage Rate may be negotiable with the
Seller. The Seller may assign this Contract and retain its
right to receive a part of the Finance Charge.

Arbitration. This Contract contains an Arbitration Provision that affects your rights.

Entire Agreement. Your and our entire agreement is contained in this Contract. There

Page 6 of 6

Buyer

3/6/2024
By: RUBEN RIVAS Date
By: Date
By: Date
Seller

3/6/2024
By: | Need A Car Miami Date

i ts regarding this Contract. A\ i . oe
be in ‘wrting and signed by you and us 's Contract. Any change to this Contract must Assignment. This Contract and Security Agreement is assigned to
Westlake Financial
4751 Wilshire Blvd. Suite 100 Los Angeles CA 90010 , the Assignee, phone
3/6/2024 (800) 641-6700 __. This assignment is made under the terms of a separate
By: RUBEN RIVAS Date agreement made between the Seller and Assignee. CO This Assignment is made with
recourse.
Seller | Need A Car Miami
By: Date 3/6/2024
By: Date
By: Date
Notice to the Buyer. a. Do not sign this Contract before you read it or if it contains any
blank spaces. b. You are entitled to an exact copy of the Contract you sign. Keep it to
protect your legal rights.
By signing below, you agree to the terms of this Contract. You received a copy of this
Contract and had a chance to read and review it before you signed it.
[This area intentionally left blank.]
Retail Installment Contract-FL Not for use in transactions secured by a dwelling. RSSIMVLFAZFL 10/31/2010
Bankers Systems™ Page 6 of 6

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